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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Christina Calzetta,                                :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
FH Cann & Associates, Inc.; and                    :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :



                For this Complaint, the Plaintiff, Christina Calzetta, by undersigned counsel,

states as follows:


                                          JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                              PARTIES

        4.      The Plaintiff, Christina Calzetta (“Plaintiff”), is an adult individual residing in

Lawrence, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      Defendant FH Cann & Associates, Inc. (“FH”), is a Massachusetts business entity

with an address of 1600 Osgood Street, Building 20/2-120, North Andover, Massachusetts

01845, operating as a collection agency, and is a “debt collector” as the term is defined by 15

U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by FH and whose

identities are currently unknown to the Plaintiff. One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.

       7.      FH at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      The Plaintiff incurred a financial obligation in the approximate amount of $711.00

(the “Debt”) to Sovereign Bank (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to FH for collection, or FH was

employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. FH Engages in Harassment and Abusive Tactics


       12.     Within the last year, FH placed up to four (4) calls a week to Plaintiff’s cellular

phone line in an attempt to collect the Debt.

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          13.   FH discussed Plaintiff’s Debt in detail with Plaintiff’s former boyfriend, Ariel

Berrios.

          14.   On December 2, 2011, Mr. Berrios sent Plaintiff a text message mentioning the

name of the Creditor, the amount of debt and stating that FH would “take [Plaintiff’s] car” if she

failed to pay the Debt.


   C. Plaintiff Suffered Actual Damages


          15.   The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

          16.   As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.


                                    COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

          17.   The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

          18.   The Defendants’ conduct violated 15 U.S.C. § 1692b(2) in that Defendants

informed third parties of the nature of the Plaintiff’s debt and stated that the Plaintiff owed a

debt.

          19.   The Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that Defendants

communicated with individuals other than the Plaintiff, the Plaintiff’s attorney, or a credit

bureau.




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       20.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       21.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       22.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       23.     The Plaintiff is entitled to damages as a result of Defendants’ violations.


                              COUNT II
     VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                        M.G.L. c. 93A § 2, et seq.

       24.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       25.      The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.

       26.      Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.


                                COUNT III
             INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       27.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.




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       28.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       29.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

       30.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with numerous calls to her cellular phone line.

       31.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       32.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       33.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.


                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;



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                4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                    c. 93A § 3(A);

                5. Actual damages from Defendants for the all damages including emotional

                    distress suffered as a result of the intentional, reckless, and/or negligent

                    FDCPA violations and intentional, reckless, and/or negligent invasions of

                    privacy in an amount to be determined at trial for the Plaintiff;

                6. Punitive damages; and

                7. Such other and further relief as may be just and proper.


                      TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: December 9, 2011

                                            Respectfully submitted,

                                            By __/s/ Sergei Lemberg__________

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